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Case 4:21-cr-06004-SMJ ECF No. 94-4 filed 11/03/21 Pagar Statesfehe! err

O
dD NUMERICA, Brrs. esas Statement Date: 10/18/21

CREDIT UNION STATEMENT ENCLOSED Account Number:
Payment Due Date 11/01/21
Amount Due

if payment is received after 11/17/21, $41,685 late fee will be charged.

 

 

+ O58772 ODGLaL772 OSCLST O3OSSN Gli AFOTUS PL Member Service/Pay By Phone: 877-495-4850
ARTURO TEJEBA Website: www.numericacu.com

*Qualified Written Requests, notifications of error, or
requests for information concerning your ioan must be

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Seino eine mie Coeki mre
Loan Set Up on Automatic Payment/ACH* NO

“If your account is set up on Automatic PaymenlACH as indicated abave,
your account wil continue to draft as scheduled.

  

 
   
  

Account information
Property Address

 

     
 
     

 

 

Principai 3
Outstanding Principat Interest
Escrow Balance Escrow (for Taxes and insurance)
7 Other $0.00
Maturity Date january 2042
eee Rate need Current Payment Due 11/04/21 axe 3
Prepayment Penalty NONE Total Fees Charged Since Last Statement $0.00
" | Overdue Amount 0.00
Total Amount Due Gay

 

 

 

Wiransaction|Activity (09/17/2021 to 10/18/2021) fe CY Siig, ;

    

Date Effective Date Description Charges
10/08/21 COUNTY TAX

10/18/24 10/15/21 10/2021 PAYMT - THANK YOU

10/18/21 10/15/24 ADDL PRIN

 

   
 

Past Payments Breakdown) “Unepplied funds represent funds thatare held in suspanse walling fnalapplication\ Ifhisiamountrapreseatsia Rateee acres ie
eA aT ee SCM lege e teven erica lelsterte(iiects lca aes ell el steven sate i

Paid Since st Statement

   
 

Principal

A DN a ge 5
Escrow (Taxes and Insurance)

Other iy
Fees $0.00
*Unapplied Funds $0.06
Total

 

 

IMPORTANT MESSAGES

Need a budget buddy? Numerica offers resources to help you dial in your budget, pay off debt, or get hold of your credit score.
Visit numericacu.com to learn more.

 

 

 

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ee ane

See Reverse Side For Additional Important Information Please return this portion with your payment
Arturo Tejeda Make Checks Payable To:

6120 Wrigley Drive 5 : 5 e : F
DonnAN Corners Cheek this box if your address or Numerica Credit Union

GW
